                   Case 4:21-cv-03075 Document 153-3 Filed on 06/20/23 in TXSD Page 1 of 5
                                                                                                                                                            EXHIBIT
                                                                                                                                                                   13
                                                                                                                                                      Trojan Battery Company (Bob Pigott)
                                                                                                                                                               10/31/2022
                                                                                                                                                           Steno: Barbara Carey, RPR
                       UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)




                                                                                                                                                      Commissioner for Trademarks
                                                                                                                                                                   www.uspto.gov


           OFFICIAL USPTO NOTICE OF PUBLICATION UNDER 12(a)

U.S. Application Serial No. 90573175
Mark: TROJAN-EV
International Class(es): 012
Owner: Trojan EV, LLC
Docket/Reference No.

Issue Date: November 3, 2021



Your mark is scheduled to publish in the Trademark Official Gazette (TMOG) on November 23, 2021.

Your mark appears to be entitled to register on the Principal Register, subject to any claims of concurrent use.

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                                                                           Trojan EV & GCC

                                                                                DTX-5
                                                                                                                                      TROJAN EV000052
                                                                               No 4:21-cv-03075
                    Case 4:21-cv-03075 Document 153-3 Filed on 06/20/23 in TXSD Page 2 of 5



From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Wednesday, November 3, 2021 04:23 AM
To:                        hank@fasthofflawfirm.com
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                                                                 NOTIFICATION OF "NOTICE OF PUBLICATION"

Your trademark application (U.S. Serial No. 90573175) is scheduled to publish in the Official Gazette on Nov 23, 2021. To preview the Notice of Publication, go to the
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                                                                                                                                          TROJAN EV000053
                Case 4:21-cv-03075 Document 153-3 Filed on 06/20/23 in TXSD Page 3 of 5


                                                 Trademark Snap Shot Publication Stylesheet
                                                    (Table presents the data on Publication Approval)


                                                                   OVERVIEW

SERIAL NUMBER                                     90573175                   FILING DATE                                03/11/2021

REG NUMBER                                         0000000                   REG DATE                                      N/A

REGISTER                                         PRINCIPAL                   MARK TYPE                                 TRADEMARK

INTL REG #                                               N/A                 INTL REG DATE                                 N/A

TM ATTORNEY                                 RAJA, AMER YASIN                 L.O. ASSIGNED                            N30-NOT FOUND



                                                               PUB INFORMATION

RUN DATE                            10/21/2021

PUB DATE                            N/A

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STATUS DATE                         10/21/2021

LITERAL MARK ELEMENT                TROJAN-EV



DATE ABANDONED                                           N/A                 DATE CANCELLED                                N/A

SECTION 2F                                               NO                  SECTION 2F IN PART                            NO

SECTION 8                                                NO                  SECTION 8 IN PART                             NO

SECTION 15                                               NO                  REPUB 12C                                     N/A

RENEWAL FILED                                            NO                  RENEWAL DATE                                  N/A

DATE AMEND REG                                           N/A



                                                                  FILING BASIS

                 FILED BASIS                                       CURRENT BASIS                                 AMENDED BASIS

1 (a)                          YES               1 (a)                                  YES             1 (a)                    NO

1 (b)                          NO                1 (b)                                   NO             1 (b)                    NO

44D                            NO                44D                                     NO             44D                      NO

44E                            NO                44E                                     NO             44E                      NO

66A                            NO                66A                                     NO

NO BASIS                       NO                NO BASIS                                NO



                                                                   MARK DATA

STANDARD CHARACTER MARK                                                      YES

LITERAL MARK ELEMENT                                                         TROJAN-EV

MARK DRAWING CODE                                                            4-STANDARD CHARACTER MARK

COLOR DRAWING FLAG                                                           NO



                                                    CURRENT OWNER INFORMATION

PARTY TYPE                                                                   10-ORIGINAL APPLICANT



                                                                                                                TROJAN EV000054
                Case 4:21-cv-03075 Document 153-3 Filed on 06/20/23 in TXSD Page 4 of 5

NAME                                                            Trojan EV, LLC

ADDRESS                                                         STE 2253
                                                                1309 Coffeen Ave
                                                                Sheridan, WY 82801

ENTITY                                                          16-LTD LIAB CO

CITIZENSHIP                                                     Wyoming



                                                 GOODS AND SERVICES

INTERNATIONAL CLASS                                             012

       DESCRIPTION TEXT                                         Motorized golf carts




                                      GOODS AND SERVICES CLASSIFICATION

INTERNATIONAL     012        FIRST USE DATE   10/01/2020        FIRST USE IN           10/01/2020   CLASS STATUS   6-ACTIVE
CLASS                                                           COMMERCE
                                                                DATE



                                   MISCELLANEOUS INFORMATION/STATEMENTS

CHANGE IN REGISTRATION                                          NO



                                                PROSECUTION HISTORY

DATE                      ENT CD     ENT TYPE     DESCRIPTION                                                           ENT NUM

10/20/2021                CNSA          O         APPROVED FOR PUB - PRINCIPAL REGISTER                                   014

10/20/2021                XAEC           I        EXAMINER'S AMENDMENT ENTERED                                            013

10/20/2021                GNEN          O         NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED                            012

10/20/2021                GNEA          O         EXAMINERS AMENDMENT E-MAILED                                            011

10/20/2021                CNEA          R         EXAMINERS AMENDMENT -WRITTEN                                            010

10/19/2021                TEME           I        TEAS/EMAIL CORRESPONDENCE ENTERED                                       009

10/19/2021                CRFA           I        CORRESPONDENCE RECEIVED IN LAW OFFICE                                   008

10/19/2021                TROA           I        TEAS RESPONSE TO OFFICE ACTION RECEIVED                                 007

10/14/2021                GNRN          O         NOTIFICATION OF NON-FINAL ACTION E-MAILED                               006

10/14/2021                GNRT          F         NON-FINAL ACTION E-MAILED                                               005

10/14/2021                CNRT          R         NON-FINAL ACTION WRITTEN                                                004

10/07/2021                DOCK          D         ASSIGNED TO EXAMINER                                                    003

06/11/2021                NWOS           I        NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM                    002

03/15/2021                NWAP           I        NEW APPLICATION ENTERED IN TRAM                                         001



                                   CURRENT CORRESPONDENCE INFORMATION

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DOMESTIC REPRESENTATIVE                                         NONE




                                                                                                     TROJAN EV000055
Case 4:21-cv-03075 Document 153-3 Filed on 06/20/23 in TXSD Page 5 of 5




                                                           TROJAN EV000056
